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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                      MEMORANDUM



 Case No.       CV 17-6052 DSF                                    Date   10/26/17
 Title     Daniel Adam Borsotti v. Fernando Manzano Olguin, et al.

 Present: The             DALE S. FISCHER, United States District Judge
 Honorable
                 Debra Plato                               Not Present
                 Deputy Clerk                             Court Reporter
      Attorneys Present for Plaintiffs:           Attorneys Present for Defendants:
                  Not Present                                Not Present
 Proceedings:           (In Chambers) Order DISMISSING Case


       All of the allegations in the complaint concern Judge Fernando Olguin’s actions in
his official judicial capacity and within his jurisdiction. These actions are protected from
suit by judicial immunity. Stump v. Sparkman, 435 U.S. 349, 356-57 (1978). The case is
DISMISSED.

         IT IS SO ORDERED.




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